IN THE CIRCUIT COURT OF FRANKLIN COUNTY, TENNESSEE

LUCILLE P. ELLIS,
Plaintiff,

ve. Case No.:é;l>\ba<:~/'\Lm“l
STATE AUTO INSURANCE COMPANY
and V.R. WILLIAMS INSURANCE
COMPANY INC.

' HLED *‘l_'\;l_ii>
nms ‘ '::~
ROBFEL`B 11
cmcurr couRT deRK
FRANKL!N couNTY, m

Defendant.

vv~.¢vv-dvvvvvv

 

COMPLAINT

Comes the Plaintiff, LUCILLE P. ELLIS, and for her cause of
action herein states the following:

1. Plaintiff, LUCILLE P. ELLIS is a resident citizen of
Frankiin County, Tennessee whose principal address is 110 Wells
Street, Estill Sprinqs, Franklin County, Tennessee 37330.

2. Defendant, STATE AUTO INSURANCE COMPANY is a foreign
insurance corporation licensed to do business in the State of
Tennessee. Defendant, STATE AUTO is served with proper process
through the Commissioner of Insurance, State of Tennessee.

3. Defendant, v.R. WILLIAMS COMPANY, INC. is a Tennessee
corporation authorized and doing business in the State of Tennessee
with its principal office in winchester, Franklin County,
Tennessee. Defendant, v.R. WILLIAMS is an insurance agency selling
and marketing all lines of insurance including casualty,

homeowners, automobile, health and other insurance lines.

 

   
 

EXH|B|T

 

 

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Pag

 

Case

 

4. Plaintiff, ELLIS is the owner iii fee simple cit her
principal residence located at 1110 Wells Street, Estill Springs,
Franklin County, Tenncssee. Plaintif£ alleges that on or about May
23, 2014, Defendant, STATE AUTO issued its homeowners policy number
HTNOGD2591 covering the policy period from May 23, 2014 to May 23,
2015, insuring Plaintiff's premises tWMji a homeowner's policy.
Said policy covered liability, fire and casualty loss, and
provisions for other forms of losses pursuant to the terms and
provisions of the policy. n copy of said policy is attached hereto
as Exhibit “l” to the Complaint.

5. Plaintiff alleges that said policy was issued through rhe
general insurance agency, V.R. WILLIAMS AND COMPANY. Plaintiff
alleges the premium for said policy was paid in full and that the
subject policy was in full force and eifect in all respects during
the one {l) year term of said insurance policy.

6. Plaintiff alleges that on June 20, 20l4, the water heater
in Plaintiff’s home burst, causing a water leak for an extended
period of time in Plaintiff's home which caused damage in and to
the area where the water heater was located as well as damage to
the bathroom and surrounding areas cf Piaintiff’s home.

?. Plaintiff alleges that on June 20, 2014 she called the
office or V.R. WILLIAMS to report the hurst pipe/flooding incident
and requested that Defcndant, V.R. WILLIAMS arrange for a cleaning
company to come to Plaintiff’s home to dry the moisture and to

prevent any further or extensive damage to the floor, wails, and

 

4:17-cV-OOOO7-HSI\/|-CHS Document 1-2 Filed 02/16/17 Page 2 of 33 Page|D #: 9

 

 

 

Case 1

 

1

other structures affected by the flooding. Plaintiff further
alleges that the Defendant, v.R. WILLIAMS made no arrangements for
the cleanup of Plaintiff's property.

8. Plaintiff further alleges that over one (i) week passed
before an adjuster from Defendant, STATE AUTO made any inspection
of Plaintiff's premises. Plaintiff would state that the STATE AUTO
adjuster made only a cursory inspection of the damaged area of the
home and made no inspection of damage to the subfloor, wails, and
other areas that were damaged by the flooding incident.

9. Plaintiff further alleges that STATE AUTO sent its
“preferred contractor” BARRETT CONSTRUCTION of Coffee County,
Tennessee to inspect the damages and estimate for repair. The
damages compiled by BARRETT CONSTRUCTION were significantly more
than the damages assessed by the STATE AUTO adjuster. ln spite of
the report of STATE AUTO’S own “preferred contractor” STATE AUTO
refused to honor the damage estimate of BARRETT CONSTRUCTION and
refused in all respects to repair the extensive damages to
Plaintiff’s home thereby breaching the terms and provisions of the
homeowner’s insurance policy issued by Defendant, STATE AUTO.

lO. Plaintiff further alleges that she obtained damage
estimates of her own, submitted those to Defendant, STATE AUTO, and
STATE AUTO refused to honor any of the reasonable estimates
supplied by Plaintiff. Said actions further are in breach of the

terms and provisions of STATE AUTO'S homeowner insurance contract.

17-cV-OOOO7-HSI\/|-CHS Document 1-2 Filed 02/16/17 Page 3 of 33 Page|D #: 10

 

 

Case

 

 

4

ll. Plaintiff would allege that all of her actions and
attempts at settlement of her ciaim were carried out in good faith.
She would allege that the acts of Defendant, STATE AUTO and its
employees and agents are fraudulent and not carried out in good
faith and constitute violations of the Tennessee Bad Faith Statete
codified at T.C.A. §57~6-105. Plaintiff is entitled to all damages
and attorney’s fees under said Bad Faith Statute.

COUNT TWO

Plaintiff incorporates all of the allegations set forth in
paragraph l through il set forth above.

12. Plaintiff alleges that upon inspecting the terms and
provisions of her insurance policy number HTNOOOQSQl, she
discovered that her dwelling place, the structure, was valued at
$162,900.00. Plaintiff further discovered that said valuation was
over four (4) times the actual value of her structure at 110 Wells
Street in Estill Springs, Tennessee. Said valuation was placed on
the subject insurance policy by Defendant, STATE AUTO INSURANCE
and/or agents of V.R. WILLIAMS. Said fraudulent valuation was
placed solely for the purpose of collecting higher insurance
premiums from Plaintiff. Plaintiff is unaware at the filing of
this suit for how many years grossly excessive valuations were
piaced on her residence.

13. Plaintiff alleges that upon discovery of the above
valuations, she contacted the insurance company demanding a refund.

Due to said demands for refund and Plaintiff’s refusal to settle

:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 4 of 33 Page|D #: 11

 

 

Case

her extensive claim for the reduced amount insisted upon by STATE
AUTO, STATE AUTO cancelled Plaintiff’s homeowner's policy.

ld. Plaintiff alleges that the actions of STATE AUTO in
grossly over valuing her property for the sole purpose of
collecting excess insurance premiums are in violation of the
Tennessee Consumer Protection Act and that Plaintiff should be
entitled to treble damages for the recovery of all excess premiums
and fees as well as attorney’s fees and other relief set forth in
the T.C.P.A.

COUNT THREE

Plaintiff incorporates all of the facts and allegations set
forth in paragraph l through ll set forth above as part of Cosnt
Three.

15. Plaintiff alleges that the actions of the Defendants,
STATE AUTO and/or Defendant, V.R. WILLIAMS constitute fraud, unfair
dealing, said actions are carried out in bad faith, said actions
are intentional and are solely for the purpose of defrauding the
Plaintiff herein and entitle the Plaintiff to punitive damages as
well as compensatory damages for her loss.

wHEREFORE, Plaintiff alleges that she is entitled to judgment
against the Defendants for the costs of repair and/or replacement
of the damages to her real property and contents in her real
property, costs for cleanup and debris removal and costs for living
expense in the amount of $150,000.00 and punitive damages in the

amount of $l,OO0,00G.GU.

 

 

1

:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 5 of 33 Page|D #: 12

 

 

Plaintitf demands a

jury of twelve (l2)

to try the

issues
herein when joined.

  
   
      

‘fuily sulmitted;

\(\\)

\jxol<§?\ M. \_o' NEAL

‘ ss

 

,.._c':""'“-'F

x Jefferson St.
P.O. Box 555
Winchester, TN
(931) 967~9496
BPR #561?

3?398

we co serier ton cosTs

 

 

 

 

Case 4

 

17 cv OOOO7 HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 6 of 33 Page|D # 13

 

 

CIRCUiT COURT SUMMONS “HNCHESTER, TENNES SEE

 

STATE or TENNESSEE
COUNTY OF FRANKLlN
12“' IUDICIAL DlsTRICT

FiLE NO: ,-:;?L‘c> ij g »[‘1¢', ILB L{

LUCILLE P. ELLIS,
Petiiioner,
VS.
STAT_E AU'I`O INSURANCE COMPANY and V.R W]LLIAMS
INSURANCE COMPANY ,
Respondents.

To the above named Defendant: V.R. Wil!iams Insurancc Compuny, inc.
1784 Sharp Springs Road
Wluchester, TN 37398

You are summoned to appear and defend a civil action filed against you in Circuit Court, Frauklin County,
Temu:ssee, and your defense must be made within thirty (30) days from tile date this summons is served upon you or us
otherwise allowed by law. You are further directed to file your defense with the Clcrk of Court and send a copy to the
P|aintiff’s sitomey at the address listed below.

111 case of your failure to defend this action by the above date, judgment by default will be rendered against you
for the relief demanded in the complaint

 

Circuil Courl Cle¢k
l"rauklin Counly, 'Fconcssec

Issuao;_"j' | ,20 lisa .

DepulyClerk
AT'£`ORNEY FOR P]_,AlN'f`l["F GREGORY M. O’NEAL
2 S. Jofferson Strooi
P.O. Box 555
ADDRESS Winchester, TN 37398

 

NOTICE

To Trrs DEFENDANT(s):

'l`€llness€e law provides a four thousand dollar($-i,lll]l]) personal properly exemption from execution or seizure to satisfy a judgment ll a
judgment should he entered against you in this action and you wish lo claim properly as exempl, you must file swrilleu !isl, under oath, oflhc
items you wish lo claim us exempt with the clerk ol`thc court. This list may bc filed al anytime and may bc changed by yoo thereafter ss
ncccssary; howevcr, unless il is filed before lhcjuclgmeut becomes llnal, il will nol he effective ss lo any execution or garnishment issued prior
to the filing ol`lhc lisl. Cerlaln items are automatically exempt by law and do not need lo be listed; these lnc|udc llcms ol' necessary wearing
apparel l`or yourselfaod your family and trunks or older receptacles necessary to contain such apparel, family 410 r|raits, the family Bihlc, and
school books. Shou|d any oflhesc items be sclzed you would have the right to recover lhcm. lfyou do not understand your cremplioo righlor
how to exercise il, you may wish lo seek the counsel ol`a lawycr. f'l`.C.A 26-2-114.}

 

'E`O 'I`HE SHER[FF:

Please execute this siunmous and make your return hereon as provided by iow.

*'"Ei'r§:l§iicouriwcléil<m …`
Received this summons for service this j g v day of _ , 20

 

Ofi`icer

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 7 of 33 Page|D #: 14

 

 

Case 4:1

 

IN THE CIRCUIT COURT OF FRANKLIN COUNTY, TENNESSEE

LUCILLE P. ELLIS,

Plaineiff,

vs. Case No.: 2016~CV~164

sTATE nuTo INsuRnNcE company
and v.R. nILLIAMs INsuRnNcE
coMPnNY, INC.

Defendant.

 

MOTION TO WITHDRAW

 

Comes GREGORY M. O'NEAL, counsel for the Plaintiff, LUCILLE P.
ELLIS, and respectfully moves the Court for an Order allowing him
to withdraw as counsel in the captioned case.

In Support of his motion, counsel would State to the Court
that there is a conflict o£ interest With one (l) of the
Defendants, V.R. WILLIAMS INSURANCE COMPANY, INC., which requires
counsel to withdraw as counsel of record.

Counsel respectfully requests the Court to allow the Plaintiff

at least thirty {30} days to emplc_ other counsel of record.

  
   
 
 
 

.tfully ubmi:ted;

 

‘ :-_‘.` sol ‘r"` M. `o’innas
Joffcrson St.

. Box 555
Winchester, TN 37398
(931) 967~9496

BPR 35617

'i-cv-OOOO?-HSI\/|-CHS Document 1-2 Filed 02/16/17 Page 8 of 33 Page|D #: 15

 

 

CERTIFICAIE OF SERVICE

 

WILLIAMS, DOOLEY & NA.POLITAN, PLLC,
Chattanooga, TN 3?402 and MS. Luc=
Estill Sprinqs, TN 37330 this the

00 W. ML King Blvd. Ste 500
P. ElliS 110 Wells St

eday )f \\Julz 2016.

\OHKHM. O`NEAL

   
  

 

Case 4:1

 

7-CV-OOOO7-HSI\/|-CHS Document 1-2 Filed 02/16/17 Page 9 of 33 Page|D #: 16

f hereby certify that a true and exact copy of the foregoing
Motion to Withdraw has been mailed to Mr. Steven W. Keyt, LEITNER,

 

 

IN 'l`l-IE ClRCUl'l` COUR_'I` (_)l" 'I`IENNESSEE
'l`\AFI')]_.l"l`I-I JUDICIAI. l)IS'l`RlC'i`
A'l` \'VI NCH l"`.S'l`l,"`.R
I)IVISION III

 

48-01.'+7
I.UCII,,I,.l~‘, z». lil,r,IS,
PI..AIN'N 1“1",
VS' NO. 2016-(2\'-164
INSURANCI¢‘. COMPANY, 1NC., §Y§“}i;i?*-~§¥§G€§?i

C§RE:LS§T CGUR"$ CZEZRK

DE!"‘F.NDAN'I‘S. z¢zzaiii<i,§w <:ol.zi\i"€“i*g “§’N

 

NO'l`lC}.". O]*` APP}".ARANC¥".

 

'l`hc undersigned herewith gives notice of up})cai'zmcc of I..clzmci i\'I. §\'Ic.Nabb, and
i\*lcNai)i), l§r:igoa‘y,os & Burgcss, i-’l.!.C in this cause for l")i:i`enc!ant, Sl'ul'e Autc) insurance

Conipany. i\ll defenses and objections to the Com;)lz\iaii' arc Speciiicaliy resol'veci.

Rus\)cc".tl`l\ily Si:l)mill‘cci,

MCNABB, l"SR/\GORGOS & BURGI".SS, I’LLC

ii.\’: ..... CGQ¢(@WWTM“- \V /z""‘"

1.1_1;1,/\N1)K'1. MuN/xlsli #7551

J\U'm'ney for Sl‘ul'o Auto lnsua‘an<',c Com])an_\_’
81 i\'iom'oe, Sixl'il l"}oor

i\'ic:mphis, Teimesscc 38 i03

'i`c~ic‘.])honc: (9()|) 612/1~<)()/10

!"u.\': (90:) 6;>.4~()()5¢)
_|mmi__;ilr)j),§fi},_mI)i)-i:i\\i.c‘.¢mi

 

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 10 of 33 Page|D #: 17

 

CI`R'|` ll `¥CA'[`E Ol" Sl€ RVICI".

"l|1is 1.01 liiics that a copy of tim foregoing ims been sawed upon opposing counsel
f01 1111 pal lies 01 xiii pmlies111<i1\11d11¢1li\,'¢1sioliows,

Gl'egol'y 1\1|. O'Neal, Esq. Ste\-'en I<eji-'l, Esq.

2 S. Jef‘i`el'son Sll‘ecl l,.citnea' il\'iiiiams Doole_\' Napolit;m
i’. O. B()x 55 z 'i`nilzm liuiiciing

\1\'11101111:1101,"¥ N 37398 200 W. ME. King Blv<i., Suil'e 500

Chnf.tunoogn, 'J"N 37402--25(16

by piacing 11 copy oi` same 511 1110 U.S iviaii, postage prcpz\i¢;l, 011 the _g~_ clay of August,
111016.

@1: M:‘MFRF`\/?M'»»

11131.111\11§’1\1. 1111¢1\11\111;

 

ss\i\c.'r:vs1~'11.1-;s\1»1:17-'111\111111.<»“1‘1\1\"1‘1\11;\1111)'1‘11:1".111-'1\1'1=1=.1\1<.¢11-»cx

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 11 of 33 Page|D #: 18

 

IN THE CIRCUIT COURT OF TENNESSEE
TWELFTH JUDICIAL DISTRICI`

 

AT WINCHESTER
DMSION m
48.6137
LUCILLE P. ELLIS,
PLAINTIFF,
VS' , NO. 2016~CV~164
sTATE AU'ro INSURANCE , v
coMPANY AND V;R. WILLIAMs see __é,§e£;l;etw

INSURANCE COMPANY, INC., sss .L:.E§l¢ s1 _,

sess 1 11
estes 1:1111111“1:15111<
DEFENDANTS. 111111111<1.11\1 seems 111

 

MOTION OF DEFENDANT STATE AUTO INSURANCE COMPANY
FOR ENLARGEMENT OF TIME TO ANSWER COMPLAINT

 

MOTION
Defendant, State Auto lnsurance Company, moves the Court for enlargement of

time within which to answer the Complaint, pursuant to Tenn. R. Civ. P. 6.02.

MEMORANDUM
Because counsel for Defendant has only recently been retained, counsel has had
insufficient time to investigate the claims made to prepare an Answer to the Cornplaint.
This request is made within the time permitted by 'I‘enn. R. Civ. P. 12.01, and counsel for
Plaintiff and Defendants have agreed that Defendant's Answer should be due October
10, 2016, ali counsel having discussed Defenciant’s request for an enlargement of time

and having agreed that it is appropriatel

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 12 of 33 Page|D #: 19

 

Respe<",tl`ull_\’ sulnnillc¢l,

l\"lch\Hl‘}, lll{r\('}()l{(i()$ E\" HUR(}l*`.SS, l’l,l.(.l

1.1'=.1.1\1\111 161 1111¢~.1\11\1111 117/551

1\1‘101‘1111_\' l`or 311111‘ 1\nto insnrnnvc (l11111111111_\'
81 1\111)111'11(1, Sixlh |"loor

1\'11,111111l1is, '|`ennessec 381(13

'l`elcphone: (901)6211-11640

l"ax: (9111) ()21|»06511
i1__111:__1__1_~:1\__111<'<`1;11_1_1_1_1\1:111\\_'.1~11111

CI"`.R'i`I i"`i Ci\'l`li (} l"` S l",'iRV l Cl:§

 

'I`iiis corlil`ies flint 11 cop_\-' oi` the i`oi'cgoiiu__’, l111s linen scr\'o¢i upon opposingj counsel
i`or all parties or all parties individually us l`ollo\\'s,

Gregory l\'.l. O'Neai, Esq. Stevcn Ke}'l, lrlsq.

2 S. .lcl`i`erson Street leeitnor \"t"iiliams l`)oolcy anoiil';\n
P.(). l%ox 555 'l`ullun fluil<ling

\»\’inchcslcr, ’1`1\I ,"1731_18 21)<1\'\’. Mi, I<ing iii\'ci., 811111:51.)11

Cl1:ut:111111)1;11,'1`i\' 37111):2~:15(1(>

-@‘£
l)_\' placing a cop_\' of`saanc in the U.$. 1\'inil, postage prupnicl, on the 517‘ cia\_' oi` 1\111:,11sl,
:2016.

  

w: _u
1\'1. 1\“] r.Ns\ l`li’»

H:`\,<`\£“i`l\'l".i"ll.l"..\i\<')l;-;',‘..].*i\.\til`li.`i`l`.\f\"l'l\'!'1`\.\|()'{‘[(l.\‘ l"()l{ `l`l.\ii‘i.elm‘\'

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 13 of 33 Page|D #: 20

 

315/111

IN THE CIRCUIT COURT FOR FRANKLIN COUNTY, TENNESSEE
LUCILLE P. ELLIS,

No. 2016-CV-164

)

)

Plaintiff, )

)

v. )
)

STATE AUTO INSURANCE COMPANY )

AND V.R. WILLIAMS INSURANCE )

COMPANY, INC., )

Defendants. l
ANSWER OF V.R. WILLIAMS INSURANCE C()MPANY, LLC

COMES the Defendant, V.R. Williarns Insurance Cornpany, LLC (hereinafter “V.R.
Williams”), and for Answcr to the Complaint avers as follows:

I.

The Complaint fails to state a cause of action upon which relief can be granted as to V.R.
Williams. V.R. Williams reported the claim arising out of the incident of June 20, 2014 to State
Auto and thereafter had no further duty concerning the ciairn, Piaintiff’ s coverage was increased
from year-to-ycar upon renewal of her policy by State Auto to account for increases in building
costs. The Plaintiff has not stated a cause of action against V.R. Williams.

II.

For response to the allegations contained in the numbered paragraphs of the Coinplaint,
V.R Wiiliams avers: l

l. The allegations contained in Paragraph l of the Cornplaint concerning the
residence of the Plaintiff are admitted

2. The allegations contained in Pa.ragi'aph 2 of the Coinplaint concerning Slate Auto

are admitted

Page 1 of 6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 14 of 33 Page|D #: 21

 

3. The allegations contained in Paragraph 3 of the Complaint concerning V.R.
Williarns are admitted

4. lt is admitted the Plaintiff is the owner of the residence located at lllO Wells
Street in Estill Springs, Tennessee. lt is admitted said residence was insured by State Auto
pursuant to the policy bearing Policy No. HTN0002591 with a policy period of May 23, 2014 to
May 23, 2015, which policy was a renewal of a pervious State Auto policy. With regard to the
allegations concerning the coverage provided by the State Auto policy, it is averred the policy
provided that coverage stated in the policy and pursuant to all the terms, conditions, and
exclusions contained therein. V.R Williams is without knowledge or information sufficient to
form a belief as to the truth of the allegations concerning Exhibit “l” being a complete copy Of
the State Auto policy.

5, With regard to the allegations contained in Paragraph 5 of the Cornplaint, it is
admitted V.R. Willianis is listed as the agent on the State Auto policy. V. R. Williams is without
knowledge or information sufficient to form a belief as to the truth of the remaining allegations
contained in Paragraph 5 of the Cornplaint.

6. V.R. Williams is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 6 of the Cornplaint. It is admitted the
Plaintiff reported a claim based upon a burst Water heater to V.R. Williams. V.R. Williams
promptly reported the claim to State Auto.

7, It is admitted the Plaintiff reported an incident but it is averred she did so on June
27, 2014. V. R. Williains is without knowledge or information sufficient to form a belief as to
the truth of the-allegations concerning the Plainlifl”s request for a cleaning company but avers it

Would not be in the position to do anything other than report the incident to State Auto, the

Page 2 of 6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 15 of 33 Page|D #: 22

 

insurance carrier. V.R. Wiliiams admits it made no arrangements for the cleanup of the
Plaintiff' s property.

8. V.R. Willian‘rs is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 8 of the Complaint.

9. V.R. Wiliiams is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 9 of the Complaint.

10, V.R. Williams is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 10 of the Complaint.

ll. V.R. Wiliiams denies any and all allegations contained in Paragraph ll of the
Complaint directed to it and denies the Plaintiff is entitled to any of the relief sought from the
agency. V.R. Williams is without knowledge or information sufficient to form a belief as to the
truth of the remaining allegations contained in Paragraph ll of the Complaint.

12. V.R. Williams admits policy HTN0002591 was issued with dwelling coverage in
the amount of $162,900.00. The policy issued by State Auto indicates in the declarations the
amount of coverage is being increased by State Auto “due to repair and replacement cost
increases.” State Auto was responsible for increasing the coverage and apparently did so to
ensure the coverage was adequate to replace the dwelling in the event it was destroyed Any and
all remaining allegations containing in Paragraph 12 of the Complaint are denied

13. V.R. Williams is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 13 of the Complaint.

14. The allegations contained in Paragraph 14 of the Cornpiaint appear to be directed
solely to State Auto and, accor'diugly, no response is required of V.R. Williams. To the extent

the allegations are intended to refer to V.R. Williams, they are denied.

Page 3 of6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 16 of 33 Page|D #: 23

 

l$. The allegations contained in Paragraph 15 of the Complaint, as they relate to V.R.
Williams, are denied.

16. Any and all allegations of the Complaint not previously admitted, denied, or
otherwise explained are here and now denied as if specifically denied above.

III.

The Plaintiff received her policy from State Auto and, at each renewal, received
declarations pages indicating the coverage being purchased, including the amount of dwelling
coverage, and providing other information Sire also received new policy forr’ns and
endorsements The Plaintiff is conclusively presumed to have read, understood, and agreed to all
terms, conditions, and provisions of the policy.

IV.

The Plaintiff paid the premium for the policy issued by State Auto. A presumption arises
from payment of the premium that the coverage provided was accepted by the Plaintiff. Tenn.
Code Ann. §56-7-135(b).

V.

Tbe Plaintiff’s cause of action for violation of the Tennessee Consumer Protection Act is
barred by the Tennessee Unfair Trade Practices and Unfair Claims Settlement Act of 2009. The
sole and exclusive statutory remedies and sanctions applicable to insurance producers in the
State of Tennessee are those provided for by the Act, and exclude any sanctions and remedies
provided for by the Tennessee Consumer Protection Act. 'l`enn. Code Ann. §56~8-113.

VI.
The Plaintiff is guilty of fault. 'l` he Plaintiff was provided a copy of her policy by State

Auto and each renewal of the policy, including a declarations page which indicated the amount

Page 4 of 6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 17 of 33 Page|D #: 24

CER'I`IFICATE ()F SERVICE

l, the undersigned attorney, do hereby certify that the foregoing document has been
delivered to all counsel for parties at interest in this cause by placing a copy of same in the
United States mail, postage prepaid, in a properly addressed envelope, or by hand delivering
same to each such attorney as follows:

Gregory M. O’Neal
2 S. Jefferson St.
P.O. Box 555
Winchester, lN 37398

Leland M. McNabb
l\/lcNabb, Bragorgos & Burgess, PLLC
Sl l\/lonroe Avenue, Sixth Floor
l\/iemphis, TN 38103

This /5#4 dayof %wewz%/:%
By: ;%// /i¢m_

‘§rrr%rfN/W. KEYT (009200)

 

Page 6 of 6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 18 of 33 Page|D #: 25

 

Ll~t.crs”l

IN THE CIRCUIT COURT OF FRANKLIN COUNTY, TENNESSEE

LUCILLE P. ELLIS,
Plaintiff,

vs. Case No.: 2016-CV-164
sTATE AUTO INSURANCE coMPANY
and v.R. wILLIAMs INSURANCE
cOMPANY, INC. plng g'LLc-Ice
TrME \\`, M
acarata§&f&rr
circuit count crain
FRANKuncouNrnTN

Defendant.

 

ORDER

 

This cause came onto be heard On the 16th day of August, 2016
before the Honorable J. Curtis Smith, Circuit Judge for Franklin
County, Tennessee, upon the Motion of counsel for the Plaintiff to
be allowed to withdraw as Counsel of record, proper notice being
giving to the Plaintiff and Defendants, the appearance of counsel,
and upon the entire record from all of which it is, herby

ORDERED, ADJUDGED AND DECREED that GREGORY M. O'NEAL is hereby
relieved as counsel for the Plaintiff in this cause of acticn. lt
is further

ORDERED, ADJUDGED AND DECREED that the Plaintiff shall be
allowed sixty (60) days from the entry of this Order in which to
employ new counsel and have counsel enter their appearance with the
Court.

inc

nn'r'nnno this the rig day of Angust:, 2016.

J. cdnq§§ sMrTn, cf§euie Jndge

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 19 of 33 Page|D #: 26

 

 

 

 

Br: l /
s ad M. o'NEAL
2 . Jeffe;son St.
P.O. Box 555
Winchester, TN 3?398
(931) 967-9496
BPR #5617

CERTIFICATE OF SERVICE

l hereby certify that a true and exact copy of the foregoing
Order has been mailed to the following:

Mr. Steven W. Keyt

LEITNER, WILLIAMS, DOOLEY & NAPOLITAN, PLLC
200 W. ML King Blvd., Ste 500

Chattanooga, TN 37402

Mr. Leland M. MCNabb

MbNABB, BRAGQRGOS & BURGESS, PLLC
Sixth Floor

81 Monroe Avenue

Memphis, TN 38103

Ms. Lucille P. Ellis
llO Wells St.
Estill Springs, TN 37330

This the ié day of August, 016. ;

/'/
random r\\i 0' NEnL

 

Ce’rtitl.cato of demise l
lcertif'y that ii leave delivered nw
or mailed ta all parties or then
counsel in tide matter n true
copy of title -:lecuaient..

/:\§Q{:;;’;jj;" w trial nara

is-\'?~rl_e

Case 4 f_7-cV-OOOO7-HSI\/|-CHS Document1-2 Filed 02/16/17 Page 20 of 33 Page|D #: 27

 

 

 

 

tower

IN THE CIRCUIT COURT FOR FRANKLIN COUN'I‘Y. 'I`ENNESSEE

LUCILLE P. ELLIS,
Plaintift`,

No. 2016-CV-164

V.

S'I`A'I`E AUTO INSURANCE COMPANY )

AND V.R. WILLIAMS INSURANCE )
COMPANY, INC., )
)

Defendants. )

AMENDED ANSWER OF V.R. WILLIAMS & COMPANY. LLC

COMES the Defendant, V.R. Williams & Company, LLC (hereinaiter “V.R. Williams”),

and, pursuant to Rule 15.01, files this Amended Answer to the Complaint and avers as follows:
I.

The Complaint fails to State a cause of action upon which relief can be granted as to V.R.
Williams. V.R. Williams reported the claim arising out of the incident of June 20, 2014 to State
Auto and thereafter had no further duty concerning the claim Plaintiff’s coverage Was increased
from year-to-year upon renewal of her policy by State Auto to account for increases in building
costs. The Plaintiff has not stated a cause of action against V.R. Williams.

II.

For response to the allegations contained in the numbered paragraphs of the Complaint,
V.R Willianrs avers:

1. The allegations contained in Paragraph l of the Complaint concerning the
residence of the Plaintiff are admitted

2. The allegations contained in Paragraph 2 of the Complaint concerning State Auto

are admitted

Page 1 of 6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 21 of 33 Page|D #: 28

 

3. The allegations contained in Paragraph 3 of the Complaint concerning V.R.
Williams are admitted except the name of the company is V.R. Williams & Cornpany, LLC.

4. lt is admitted the Plaintiff is the owner of the residence located at 1110 Wells
Street in EStill Springs, 'l`ennessee. lt is admitted said residence was insured by State Auto
pursuant to the policy bearing Policy No. HTNOOOZSQl with a policy period of l\/lay 23, 2014 to
May 23, 2015, which policy Was a renewal of a peiylous State Auto policy. With regard to the
allegations concerning the coverage provided by the State Auto policy, it is averred the policy
provided that coverage stated in the policy and pursuant to all the terms, conditions, and
exclusions contained therein V.R Williarns is without knowledge or information sufficient to
form a belief as to the truth of the allegations concerning Exhibit “1” being a complete copy of
the State Auto policy.

5. With regard to the allegations contained in Paragraph 5 of the Complaint, it is
admitted V.R. Williams is listed as the agent on the State Auto policy. V. R. Williains is Without
knowledge or information sufficient to form a belief as to the truth of the remaining allegations
contained in Paragraph 5 of the Complaint.

6. V.R. Williams is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 6 of the Complaint. lt is admitted the
Plaintiff reported a claim based upon a burst water heater to V.R. Williams. V.R. Williams
promptly reported the claim to State Auto.

7. lt is admitted the Plaintiff reported an incident but it is averred she did so on June
27, 2014. V. R. Willia.ms is Without knowledge or information sufficient to form a belief as to
the truth of the allegations concerning the Plaintiff’s request for a cleaning company but avers it

would not be in the position to do anything other than report the incident to State Auto, the

Page 2 of6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 22 of 33 Page|D #: 29

 

insurance carrier. V.R. Williarns admits it made no arrangements for the cleanup of the
Plaintiff’s propelty.

8. V.R. Williarns is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 8 of the Complaint.

9. V.R. Williams is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 9 of the Complaint.

10. V.R. Williarns is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 10 of the Complaint.

ll. V.R. Williams denies any and all allegations contained in Paragraph ll of the
Complaint directed to it and denies the Plaintiff is entitled to any of the relief sought from the
agency. V.R. Williams is without knowledge or information sufficient to form a belief as to the
truth of the remaining allegations contained in Paragraph ll of the Complaint.

12. V.R. Williams admits policy HTN0002591 was issued with dwelling coverage in
the amount of $162,900.00. The policy issued by State Auto indicates in the declarations the
amount of coverage is being increased by State Auto “due to repair and replacement cost
increases.” State Auto was responsible for increasing the coverage and apparently did so to
ensure the coverage was adequate to replace the dwelling in the event it was destroyedl Any and
all remaining allegations containing in Paragraph 12 of the Complaint are denied

13. V.R. Williams is without knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 13 of the Complaint.

14. The allegations contained in Paragrapli 14 of the Complaint appear to be directed
solely to State Auto and, accordingly, no response is required of V.R. Williarns. To the extent

the allegations are intended to refer to V.R. Williams, they are denied.

Page 3 of 6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 23 of 33 Page|D #: 30

 

15. The allegations contained in Paragraph 15 of the Complaint, as they relate to V.R.
Williams, are denied.

16. Any and all allegations of the Complaint not previously admitted, denied, or
otherwise explained are here and now denied as if specifically denied above.

III.

The Plaintiff received her policy from State Auto and, at each renewal, received
declarations pages indicating the coverage being purchased, including the amount of dwelling
coverage, and providing other information She also received new policy forms and
endorsements The Plaintiff is conclusively presumed to have read, understood, and agreed to all
terms, conditions, and provisions of the policy.

IV.

The Plaintiff paid the premium for the policy issued by State Auto. A presumption arises
from payment of the premium that the coverage provided was accepted by the Plaintiff. Tenn.
Code Ann. §56-7`-135(|:)).

V.

The Plaintiff s cause of action for violation of the Tennessee Consumer Protection Act is
barred by the Tennessee Unfair Trade Practices and Unfair Claims Settlement Aet of 2009. The
sole and exclusive statutory remedies and sanctions applicable to insurance producers in the
State of Tennessee are those provided for by the Act, and exclude any sanctions and remedies
provided for by the Tennessee Consumer Protection Act. Tenn. Code Ann. §56-8~1]3. Puither,
V.R. Williams pleads and relies upon the Limitation of Actions set forth in Tenn. Code Ann.

§47-18-110.

Page 4 of 6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 24 of 33 Page|D #: 31

CERTIFICATE OF SERVICE

I, the undersigned attorney, do hereby certify that the foregoing document has been
delivered to all counsel for parties at interest in this cause by placing a copy of same in the
United States mail, postage prepaid, in a properly addressed envelope, or by hand delivering
same to each such attorney as follows:

Lucille P. Ellis
110 We]ls Street
Estill Springs, TN 37330

Leland M. l\/lcNabb
Mci\labb, Bragorgos & Burgess, PLLC
81 Monroe Avenue, Sixth Floor
Memphis, TN 38103

rhis&aayor /Vwe.ars`?¢" By:S/%:?%/M

¢Evi‘n<fw. KEYT (009200)

 

Page 6 of 6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 25 of 33 Page|D #: 32

 

l_N 'l_`l’ll_". ClRCUl'l` COURT ()l" 'l`l§NNl_".SSF,E
'i`\'\’l_".l_ll"l`l'l .}l_ll_)l{j_l_r\l. l)lS'l`RlC'l`
A'l_` \'\’l NCI l `l'fS'l`l",ll
l)lVlSl()N lll

 

 

.gtt.tiz:;';
i.ucn.l.u P. ui,i,ls,
Pl,/\IN'l‘n"i~',
7 "1
"i"~ No. arn_e-Cv»iea
s'i'.r\'ri~'. i\u'r<) rnsi_nn\ucn _
<_":<)M PANY .»\N i) v. a. Wn.i_.i/\tvls aaa grand-rata
insuunwouconwva inc., ~ . l ‘ 1 ~~ at
’ zilliiira\f"§i’a§tr t
_ _ _ riarun“eoustfttsti
nn 1- nn i)i\N'l‘s. atlanta mann rs

.r\(ll'{l"`,l".l) (_)Rl)l".R l".NI,J\R(}lNG ’l`ll\fll". l*`()R
l)l".l"`l*`,l\ll)!\l\l'l"$ r\NS\f\’l".l{ 'l`(`) C()h'l l’l ,AlN'I`

'|`his matter came on lo ho heard on the motion ol` l)ai`oudanl, State i\ulo
Ins\n‘au<_'n Compun_\’, l`ol' enlargement ol' time for aus\\\'ur lo the Complaint under

’l`ouu,ll.(`li\-'.P. 6.02, and with the agreement of the partics,

'|`l Il*`. C(_)Ull'l` l"lNl)S that the \\'lulion l`o:' l~lul:u‘gc\ncnt ol"l`imu is made with the

agreement ol`all parties and is well tulcen, and lt is th<_‘rcl`or<-i

()|{l)l".l{l".l), r\l').lUl)(_ll".l') .»'\Nl) |')l'l(_lll|".l",l) that l)r‘l't‘ndnnl, State z\uto insurance
t,‘<)uipauy, is allowed additional lime for ans\\’i~.r to the (_fomplaiut through and including

()elol)ur to, aol_().

.i l int

§<T__.R/\_»/\/\l\»~‘-> _ _ /_<':`:")"_"‘ _: `

; l }\`M
1).-‘\'1‘1".:___ ____§S_l_t_i_”“ //:

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 26 of 33 Page|D #: 33

 

1\P|’R()\"l*`.l):

f

C; tit air aaa tag flaw d /lna. ,g? ti_M/til fwe\=}éj`::t&::_%
(lregory M. ()'Ncal ao§()l'/ w él""““’?"’l’ l""'l° wl
/\ltorno_v for l’laintil`f'
12 t~l. .lot`l`c:'sou Street
l’.O. llo.\: 555
\"\'inchostcr, 'l_`N 37398
'l`olephoue: (931) 967-9496
s l'cs<>_r_\_'__\__=_\_<_>_r_\_i_‘_i_1_!_@__!_)_¢: ll sur l_t__l_t_._u_i:_l

 

lll`_‘§l'i`l\' lSR Wl lilill'\MS D()()l,l_‘]‘l’ Nr\l’()l,l'l`r\t\'

“' tit .‘) lie
B},:_r § aetna ran tQaj) t“‘ tax L/l“l/l’t MM:: alia view
Stcvoa I<cyt aooaoo w § c
'l`allan Buildiug
200 W. ML Kiug Blvd., Suito 500
Chatlanooga, 'l"N 37402-256()
'l`olephonc: (423) 424-3010
|"ax: ({;23) 2(5()~54<)0
sli*\'eu.l<c\'tm"h~iiau‘r|li'm_<'oiu

 

 

1\'l<_'_N/\ ll li, lil'{.‘\GORGOS &' BUR(_ll`€SS, l"l,l.C

. li_\ `: ‘::.;'*`;lw§, wa:$j§§t>"“’l;;w \e,._,
Lelaud h'l_‘l\'lel\lal)h #07551
l\ttorno_\‘ for State .#\ulo lusaram‘e (_,`o:npan_\'
81 I\'lonroe, Sixth l""loor
i\'ir_\.mphis,'|‘umu-ss<\_o3§§1()_‘),
’l`claphoiw_: (c)oi) 624-noaa
l"ax: (901) 624-0650
l 1a rn al_>h_G_i‘i ni)_h;l_e;u_\:.i:oin

 

lie

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 27 of 33 Page|D #: 34

 

IN THE CIRCUIT COURT OF TENNESSEE
TWELFI`H JUDICIAL DISTRICI`

 

AT wINcHEsTnR
PART 111
48»6137

LUcrLLE P. ELLIS,

PLAINTIFF,
VS NO. 2016-CV-»164

‘ JURY DEMANI)ED
s'rATE AUTo PRoPnRTY AND
cAsUALTY INSURANCE coMPANY
(misnamed STATE AUTO g o q f 5 § d l ig
INsUR.ANCE CoMPANYJ AND v.R. ftl-lift »»-\_§:»~
MLL!AMS INSURANCE coMPANY, litigating ~ y
LLC (misnamed V.R. WILLIAMS dates assailant
INSURANCE COMPANY, INC.) tftltfil`i i~@ltt~i‘t ill

DEFENDANTS.

 

ANSWER OF DEFENI)ANT STATE AUTO PROPERTY
ANI) CASUALTY INSURANCE COMPANY
(MISNAMED STA'I`E AUTO INSURANCE COMPANY)

 

For answer to the Complaint of Lucille P. Ellis, Defendant State Auto Property
and Casualty Insurance Company, misnamed in the Complaint as State Auto Insurance
Company, says:

FIRST DEFENSE

Tenn. Code Ann. § 56-8-133 bars all claims purported to be stated by Plaintiff as

arising under the Tennessee Consumer Protection Act, 'l`enn. Code Ann. § 48-18-»101, et

seq., and the Complaint fails to state a claim upon which relief can be granted

Case 4:17-cv-OOOO7-HS|\/|-CHS Document1-2 Filed 02/16/17 Page 28 of 33 Page|D #: 35

 

FM)MM

The burden of proof rests upon Plaintiff with respect to all particulars alleged and
relied upon by her in her Complaint. Plaintiff bears the burden of showing by clear and
convincing evidence all aspects of her claim for punitive damages

THIRD DEFENSE

Plaintiff’s claims of fraudulent valuation fail to state a claim upon which relief can
be granted because the claims as stated are insufficient under Tenn.R.Civ.P. 9.02,
lacking particularity

FOURTH DEFENSE

Plaintiff’s exclusive remedy for refusal to pay a claim is embraced in Tenn. Code
Ann. § 56-7-105 and all Plaintiff’s claims which do not fail within the exclusive remedy
fail to state a claim upon which relief can be granted

FIFI`H DEFENSE

Defendant avers it is entitled to the rebuttable assumption afforded it pursuant to
Tenn. Code Ann. § 56-7»135(b).

SIX'I`H DEFENS§

For answer to the numbered paragraphs of the Complaint, Defendant says:

1. Defendant admits the allegations of Paragraph 1 of the Complaint that
Plaintiff is a citizen of Franklin County, Tennessee, residing at 110 Wells Street, Estill
Springs, Franl<lin County, Tennessee.

2. Defendant State Auto Property and Casualty insurance Company,

misnamed State Auto Insurance Company in the Complaint, admits it is a corporation

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 29 of 33 Page|D #: 36

 

doing business in the State of Tennessee and can be served with process through the
Commissioner of Insurance of the State of Tennessee.

3. Defendant admits the allegations of Paragraph 3 of the Complaint except
Defendant avers the correct name of the Codefendant is V.R. Williams & Company, LLC.

4. Responding to the allegations of Paragraph 4 of the Complaint, Defendant
admits Plaintiff Ellis owns her residence located at 110 Welis Street, Estill Springs,
Franl<lin County, Tennessee. Defendant admits State Auto Property and Casualty
Insurance Company insured Plaintifi’s residence and issued Policy Number
I-ITN0002591 having a policy period beginning May 23, 2014 and ending May 23, 2015,
providing coverages stated in the policy and subject to the terms, conditions, and
exclusions contained in the policy. Defendant denies a copy of the policy was attached
as Exhibit 1 to the Complaint served upon it, and therefore, lacks information upon
which to formulate a belief whether the policy attached to the Complaint was complete
and accurate; however, Defendant believes and avers that the parties can agree by
stipuiation to a certified copy of the applicable policy of insurance

5. Responding to the allegations of Paragraph 5 of the Complaint, Defendant
admits V.R. Williams 8c Company, LLC, was the agent identified in the renewal
declarations of Policy No. HTN0002591 having a policy period from May 23, 2014 to
May 23, 2015. Defendant admits the referenced policy was in force during its policy
term.

6. Responding to the allegations of Paragraph 6 of the Complaint, Defendant
lacks personal knowledge of the date and time on which the water leak which underlies

Plaintiffs claim occurred Defendant admits there was a water leak within Plaintiff’s

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 30 of 33 Page|D #: 37

 

residence causing damage to Plaintifi‘s bathroom and immediately adjacent areas in the
residence

7. Defendant lacks information upon which to formulate a belief as to the
truth of the allegations of Paragraph 7 of the Complaint.

8. Defendant denies the allegations of Paragraph 8 of the Complaint as
Stated.

9. Responding to the allegations of Paragraph 9 of the Complaint, Defendant
admits Barrett Construction inspected the damage within Plaintiff's residence and
estimated repair costs for Plaintifi’s bathroom, hall, and water heater closet. Defendant
denies all remaining allegations contained in Paragraph 9 of the Complaint.

10, Defendant lacks information upon which to formulate a belief as to the
truth of allegations concerning Plaintiff’s obtaining damage estimates and denies ali
remaining allegations in Paragraph 10 of the Complaint.

11. Defendant denies the allegations of Paragraph 11 of the Complaint.

12. Responding to the allegations of Paragraph 12 of the Complaint,
Defendant admits the policy of insurance HTN0002591 stated a limit of coverage for
Piaintiff’s dwelling at $162,900. Defendant lacks information upon which to formulate
a belief as to the truth of Plaintiff’s statement of the actual value of her dwelling
structure Defendant denies all other allegations contained in Paragraph 12 of the
Complaint.

13. Defendant denies the allegations of Paragraph 13 of the Complaint.

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 31 of 33 Page|D #: 38

 

 

t/;, i)ci`cndnnl denies the allegations oi` l’nragrnph 14 ol` lite Complaint, and
ul`|`irmuliveiy avers that 'l`enn. Code /\nn. § 50~8~! l3 bars the claims stated l)_v l’inintil`i` in
l’zu'agr:-iph 14 oi` the Complaint.

15. if)el`cntlnui denies llie nileguliousol` ’nrugrapii c§; oi`the Complaint.

:(). Defendant denies l’ininlii`l` is entitled lo judgment against the l`)el`elninnl in
the amount ol` $150,000, and further denies l’laiuiil`i' is entitled tenn award oi` punitive
damages in the amount ol` $i,oc')o,ooo, or in any nmount.

i?. r\ll uilegntions ol` tile Complaint not lierciuuin)\". udniiited, denied, or
explained are now specifically and categorically denied

§_i__"»V l-$N'i_`._l;...l_ll_l.ll‘_`__l__ii§l§l§

l’iuintil`i` failed to make rensonahic.\ efforts to avoid loss and lo minimize damages

to her property and to avoid unnecessary expense
_.}_l,_lRY l}l".l\'iANl)/Sl§l’!\l{!\'i`l",'l`l{l/\l,

Defendant demands trial oi` the issues herein joined by n jury of livel\’c (12)
citizens who shall be required to reach a unanimous verdict Defendant further
demands separate trial o|`lhe issues ol" compensatory and punitive damages

ltesperll`ull_\,'suinnilied,
MCNABH, BRAGORG(_')S & iiURGESS, PLLC

law <:`:;a M»:`a/MWWM

i_.lii_.i\Nl} i\- . l\'icN:\illi #7551
l#\ttt')rney for Slule r\ulo l’roperl_\-' and
Casuali_v insurance Compun_\'

81 l\“lonrc)c, Si.\'lii i"`loor

i\'lemphis, 'l`ennessee 38 u)_';
'|`elephouc: (9¢)\) ():'z/i~o()/u)

l"nx: (901) 613¢}-()()50

_lniei_i__;_i_i)l,i@ rn,bi);l;u\'.eo"m

 

 

 

5

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 32 of 33 Page|D #: 39

ClSR'|_fll:`»_f__C./_\f_l`ii Q§fj`e§)llil}lll..£§};`»

 

 

'i‘his certifies that a copy of the f`c_n'egoing has l)een served upon opposing counsel
for all parties or all parties individually as follo\vs,

i_.ueiile l’. l*`.llis Ste\'en Ke_vi, l€sq.
110 Wells Street i.eitner \.'Villiams i)oole_v Napoiiian
tistili S;.)rings, ’i`N 3733() '|`alian Building

eeo W. a'lL King Bivd., Suit:e 500
Ciiai't‘anooga, 'I`N 3'"/4()2»2566

l _ . _` . l »»»*““' .
l)_v placing a eo;)_v oi same in tire l..i,h. i\'iaii, postage pre})anl, on the _i{;?’ day ot
Se;)teiui)er, noi().

o gayw`“°;"%§;§-""/M

i.l?,i.ANl t\'I. i\'leNABB

 

 

S:`\,.-\('i`l\'i". i"| l.l'°.-S\E’)137.4.‘§\.\`11ii.\"i'.-\i\"l'l’\'l".`\.»\?\'$\'\'i-`.l{ €)l~` .\"[`.»'\'l'l-`. .-\U'l`t').dor>:

6

Case 4:17-cv-OOOO7-HS|\/|-CHS Document 1-2 Filed 02/16/17 Page 33 of 33 Page|D #: 40

 

